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Certificate Number: 00301-FLS-CC-03 1039681

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301-FLS-CC-03 1039681

CERTIFICATE OF COUNSELING

I CERTIFY that on May 16, 2018, at 9:51 o'clock AM EDT, MAURICE
SYMONETTE received from InCharge Debt Solutions, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the Southern District
of Florida, an individual [or group] briefing that complied with the provisions of

11 U.S.C. §§ 109(h) and 111.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: May 16, 2018 By: /sfRose Poley

 

Name: Rose Poley

Title: Certified Bankruptcy Counselor

 

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 
